

Matter of Porcaro (2018 NY Slip Op 08414)





Matter of Porcaro


2018 NY Slip Op 08414


Decided on December 6, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 6, 2018


[*1]In the Matter of JENNIFER LYNNE PORCARO, an Attorney. (Attorney Registration No. 4853263)

Calendar Date: December 3, 2018

Before: McCarthy, J.P., Devine, Mulvey, Rumsey and

	 Pritzker, JJ.

Jennifer Lynne Porcaro, Worcester, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Jennifer Lynne Porcaro was admitted to practice by this Court in 2010 and lists a business address in Southborough, Massachusetts with the Office of Court Administration. Porcaro now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion as to the disposition of Porcaro's application.
Upon reading Porcaro's affidavit sworn to October 30, 2018 and filed November 1, 2018, and upon reading the November 27, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Porcaro is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
McCarthy, J.P., Devine, Mulvey, Rumsey and Pritzker, JJ., concur.
ORDERED that Jennifer Lynne Porcaro's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Jennifer Lynne Porcaro's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jennifer Lynne Porcaro is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Porcaro is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to [*2]another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jennifer Lynne Porcaro shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








